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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

BEN DAVIS, individually and on behalf of all
others similarly situated,

Plaintiff,
Vv. Case No.: 8:23-CV-02333

CR FITNESS HOLDINGS, LLC,

Defendant.
/
AFFIDAVIT OF KENDALL LANESE
STATE OF FLORIDA

county or Pinellas

BEFORE ME, THE UNDERSIGNED AUTHORITY, on this day personally appeared

Kendall Lanese, who is personally known to me, and after being duly sworn according to law,
upon his oath, deposed and said:

1. My name is Kendall Lanese. I am over 18 years of age and have never been
convicted of a felony or a crime involving moral turpitude. I am competent to make this affidavit.
All facts contained in this affidavit are within my personal knowledge and are true and correct.

2. Iam employed with CR Fitness Holdings, LLC, as Chief Marketing Officer. CR
Fitness Holdings, LLC is in the business of providing fitness facilities and services to its members.
CR Fitness is the largest franchisee of Crunch Fitness Inc. in the nation.

3. In my capacity as Chief Marketing Officer for CR Fitness Holdings, LLC, I am
responsible for maintaining call log and client database records in the possession, custody, or

control of CR Fitness Holdings, LLC relating to CR Fitness Holdings, LLC’s member database,

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including the database for its Plano location that contains all call and text message logs for said
location.

4, Such records are kept and maintained in the custody and control of CR Fitness
Holdings, LLC, in the ordinary course of its regularly conducted business activities. Further,
making such documents is a regular practice of CR Fitness Holdings, LLC’s business activities.

5. In October 2023, CR Fitness Holdings, LLC promoted the opening of a new facility
in Plano, Texas. As part of the marketing for the new location, CR Fitness advertised a “Founders’
Day” sale that would allow the first 500 members to lock in their membership rate.

6. The Founders’ Day promotion was conducted in multiple ways. There were QR
codes placed outside the location of the new facility, promoters at events around town also had
QR codes that could be scanned, and links on CR Fitness Holdings, LLC’s new Plano location
social media pages had links advertising the promotion. To sign up for the promotion, interested
individuals had to use the QR code or social media link.

7. The QR codes and social media links all directed to a web form that required
interested individuals to provide their name, telephone number, email address, and zip code. The
web form also included a box users had to select before submitting their information that indicated
their “express written consent” to receive communications from CR Fitness Holdings, LLC about
the new Plano location.

8. After submitting information via the web form, a text message was automatically
sent to the number listed in the web form, stating:

[NAME], we received your Founders Rate Reservation! You are opted-in to receive

recurring messaging from Crunch Fitness Plano. Msg frequency varies. Message &

data rates may apply. Crunch.com/locations/plano Text STOP to opt-out CALL for
info

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9. The information submitted in the web form was populated to a database consisting
solely of individuals who requested information about the Plano location. No other contact
information or phone numbers is included in the database.

10. On October 6, 2023, beginning at noon Central Time, a prerecorded message was
sent to the phone numbers contained in the database of individuals who had requested more
information about the Plano location, promoting a Founders’ Day sale.

ll. I certify that CR Fitness Holdings, LLC uses a sole vendor to place calls in
compliance with the relevant regulations. More specifically, CR Fitness Holdings, LLC does not
use any other vendor to place recorded calls to its members.

12. The prerecorded Founders’ Day sale call was sent on behalf of CR Fitness
Holdings, LLC only by its sole vendor—the prerecorded call was not made by or from any other
CR Fitness Holdings, LLC phone.

13. Upon receipt of the lawsuit brought by Ben Davis, I personally reviewed the CR
Fitness Holdings, LLC records relating to the Founders’ Day sale call. This included the call log
from CR Fitness Holdings, LLC’s sole vendor for the Founders’ Day sale call on October 6, 2023;
call logs for CR Fitness Holdings, LLC’s call logs for its Plano location on October 6, 2023; CR
Fitness Holdings, LLC’s cellular provider’s (Verizon) call logs for the cell phone number used in
the Plano location on October 6, 2023; and CR Fitness Holdings, LLC’s member database for the
Plano location.

14. I certify that the vendor’s call log for the October 6 Founders’ Day sale call does
not include a call to (214) 385-3278, the number provided by Mr. Davis’s counsel as the number

at which he allegedly received a call from CR Fitness Holdings, LLC.

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15. I certify that the call logs for CR Fitness Holdings, LLC’s Plano location on October
06, 2023, do not include a call to (214) 385-3278.

16. ‘I certify that Verizon’s call logs of CR Fitness’s cell phone used for the Plano
location on October 6, 2023, do not include a call to (214) 385-3278.

17. I further certify that there is no record in CR Fitness Holdings, LLC’s entire
member database of any call to (214)-385-3278.

18. Further, phone number (214)-385-3278 cannot be found anywhere in CR Fitness
Holdings, LLC’s entire call log database until November 2, 2023, when the number called the

Plano Crunch Fitness.

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FURTHER AFFIANT SAYETH NAUGHT

Hert

Kendall Lanese

STATE OF FLORIDA

COUNTY OF HILLSBOROUGH

Sworn to, or affirmed, and subscribed before me by means of (check one): UO physical

presence pees ization, on te brucu- , 2024 by KENDALL LANESE, who
(check on i ersonally known to méSgr C1 has produced as

identification.

(Affix Seal) ()

Notary Public

Rosetta. Meadows

(Type or print name)

My Commission Expires: loi / 2028

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